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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION
LEAGUE OF UNITED LATIN AMERICAN         §
CITIZENS, et al.                        §
                                        §
               Plaintiffs,              §
                                                   Case No. 3:21-cv-00259
V.                                      §
                                                        [Lead Case]
                                        §
GREG ABBOTT, et al.,                    §
                                        §
               Defendants.              §

TEXAS STATE CONFERENCE OF THE           §
NAACP,                                  §
                                        §
               Plaintiff,               §
V.                                      §          Case No. 1:21-cv-01006
                                        §           [Consolidated Case]
                                        §
GREG ABBOTT, et al.,                    §
                                        §
               Defendants.              §


            DEFENDANTS’ MOTION TO DISMISS NAACP’S COMPLAINT
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                                             INTRODUCTION

        At the core of NAACP’s complaint is a novel legal theory: that a State is legally required to

draw opportunity districts for “people of color,” by which it means “all Texans other than white, non-

Hispanic people[.]” ECF 1 ¶ 27. It creates an entirely new term to support its theory: people of color

citizen voting age population, or “POC CVAP.” This theory is inconsistent with the plain text of the

Voting Rights Act and contrary to Supreme Court precedent. The Court should reject it.

        NAACP’s intentional-discrimination claims fail as well. NAACP has not plausibly alleged any

facts rebutting the strong presumption of good faith, let alone supporting an inference of intentional

discrimination. To the contrary, these facts, if proven, would merely demonstrate two unremarkable

things. First, that the Legislature passed the new electoral maps under a compressed timeline due to

the U.S. Census Bureau’s delay in distributing the Census data. And second, that a partisan Legislature

made decisions based on partisan preference.

        But the Court need not confront those issues here because NAACP has not plausibly alleged

standing. It has identified neither injured members nor a cognizable harm to the organization itself.

        For each these reasons, the Court should dismiss NAACP’s complaint.

                                                STANDARD

        A complaint must “give the defendant fair notice of what the claim is and the grounds upon

which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007) (quoting Conley v. Gibson, 355 U.S.
41, 47 (1957)). “[A] plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires

more than labels and conclusions, and a formulaic recitation of the elements of a cause of action will

not do.” Id. at 555. “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (quoting Twombly, 550 U.S. at 570). “Threadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice.” Id.




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                                               ARGUMENT

I.      The Court Does Not Have Jurisdiction to Hear NAACP’s Claims

        “[S]tanding is perhaps the most important of the jurisdictional doctrines.” FW/PBS, Inc. v. City

of Dallas, 493 U.S. 215, 231 (1990) (quotation omitted). At the pleading stage, plaintiffs must “clearly

. . . allege facts demonstrating each element” of standing. Spokeo, Inc. v. Robbins, 578 U.S. 330, 339

(2016) (quotation omitted). These are: (1) an actual or imminent, concrete and particularized injury-

in-fact; (2) that is fairly traceable to the challenged action of the defendant; and (3) that is likely to be

redressed by a favorable decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992).

        An entity like NAACP could establish injury-in-fact under two theories, associational standing
or organizational standing. Tenth St. Residential Assn. v. City of Dallas, 968 F.3d 492, 500 (5th Cir. 2020).

NAACP’s allegations, however, support neither theory, and the complaint should be dismissed.

     A. NAACP Lacks Associational Standing

        NAACP has not plausibly alleged associational standing. Although “an association may have

standing solely as the representative of its members,” this doctrine “does not eliminate or attenuate

the constitutional requirement of a case or controversy.” Warth v. Seldin, 422 U.S. 490, 511 (1975).

Accordingly, courts apply a three-part test to determine if a plaintiff has associational standing: Would

the association’s members otherwise have standing to sue in their own right? If so, are the interests

the association seeks to protect germane to its purpose? And, if so, do the claim asserted or the relief

requested require an individual member’s participation in the lawsuit? Hunt v. Wash. St. Apple Adver.

Commn., 432 U.S. 333, 343 (1977). NAACP’s complaint fails the first and third questions.

        First, NAACP does not allege that specific members of its organization have been injured

such that they would independently have standing. See Ctr. for Biological Diversity v. EPA, 937 F.3d 533,

536 (5th Cir. 2019). “Foremost among [the Article III standing] requirements is injury in fact.” Gill v.

Whitford, 138 S. Ct. 1916, 1929 (2018). But NAACP has failed to “identify members who have suffered

the requisite harm.” Summers v. Earth Island Inst., 555 U.S. 488, 499 (2009); see NAACP v. City of Kyle,

626 F.3d 233, 237 (5th Cir. 2010) (requiring an injury to “a specific member”). Rather, it purports to

sue in the name of its members generally: “Texas NAACP brings this action on behalf of its members,


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including the thousands of Texas NAACP members who are registered voters who reside in state

house, state senate, and congressional districts where their voting power will be reduced under the

new plans.” ECF 1 ¶ 21. That does not satisfy the basic requirement to notify the Defendants of

whom the new electoral maps allegedly harmed.

        When a complaint fails to identify specific members, associational-standing claims should be

dismissed. See, e.g., Ga. Republican Party v. SEC, 888 F.3d 1198, 1203 (11th Cir. 2018) (dismissing claim

where the only member identified failed to allege that he was injured by the challenged regulation);

Draper v. Healey, 827 F.3d 1, 3 (1st Cir. 2017) (Souter, J.) (dismissing claim of organization that did not
specifically identify an injured member but “submitted an affidavit asserting that many of its members

asked it to take legal action”); Disability Rights Wis., Inc. v. Walworth Cnty. Bd. of Supervisors, 522 F.3d 796,

804 (7th Cir. 2008) (dismissing claim organization that did not allege that its standing was derived

from any identified individual that had suffered the requisite harm).

        Even if NAACP had identified specific members, it did not allege facts demonstrating that

those members have been injured. Its claims rely on a vote-dilution theory, ECF 1 ¶ 21 ( “the voting

power” of “its members” will be “reduced under the new plans”), but vote dilution, by definition,

injures only those who vote. It “arises from the particular composition of the voter’s own district,

which causes his vote . . . to carry less weight than it would carry in another, hypothetical district.”

Gill, 138 S. Ct. at 1931.

        NAACP alleges that these unnamed members are “registered voters,” ECF 1 ¶ 21, but a

plaintiff’s allegation that he is “a registered voter” does not suffice. DiMaio v. Democratic Natl. Cmte.,

520 F.3d 1299, 1302 (11th Cir. 2008) (per curiam). Specifically, a “complaint undeniably fails the test

for constitutional standing” when the plaintiff “never allege[s] that he actually voted, nor even so

much as suggested that he intended to vote in,” the election at issue. Id.; see also Yazzie v. Hobbs, 977

F.3d 964, 967 (9th Cir. 2020) (per curiam) (dismissing for lack of standing because “any allegation or
showing as to, at a bare minimum, whether any of the plaintiffs intend to vote in this general election”

was “missing”); Gallagher v. N.Y. State Bd. of Elections, 496 F. Supp. 3d 842, 850 (S.D.N.Y. 2020)

(plaintiffs lacked standing to challenge a vote-by-mail deadline when none alleged an intent to vote by


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mail). NAACP fails to establish that any of its members are injured because it fails to allege that they

intend to vote in the coming elections.

        Even if NAACP had plausibly alleged that its members intend to vote in the 2022 election, it

would still lack standing because it does not specify where those members reside. Where, as here,

“plaintiffs’ alleged harm is the dilution of their votes, that injury is district specific.” Gill, 138 S. Ct. at

1930. A plaintiff may assert a “right not to be placed in legislative districts deliberately designed to

‘waste’ their votes in elections where their chosen candidates will win in landslides (packing) or are

destined to lose by closer margins (cracking),” but in either case, any injury to an individual voter
“results from the boundaries of the particular district in which he resides.” Id. Thus, any remedy “lies

in the revision of the boundaries of the individual’s own district.” Id. NAACP itself faces the same

restrictions. An entity plaintiff “may not step into the shoes of its members to bring a statewide claim

because its members would lack standing as individual plaintiffs to challenge the apportionment plan

on a statewide basis.” League of Women Voters of Mich. v. Johnson, No. 2:17-cv-14148, 2018 WL 10483517,

at *6 (E.D. Mich. May 16, 2018) (three-judge court). And a prohibited statewide challenge is exactly

what NAACP mounts in Counts II and III of its complaint. See ECF 1 ¶ 218 (alleging dilution of

voting power of “voters of color . . . in Texas as a whole” by drawing “maps that have an overall

retrogressive effect”), ¶ 224 (alleging maps “were adopted, at least in part, for the purpose of

disadvantaging voters of color . . . across the State”).

        This is in keeping with Supreme Court precedent restricting standing to bring related

redistricting claims. In a “racial gerrymandering” case, for example, a voter does not have Article III

standing to challenge a map “in its entirety.” United States v. Hays, 515 U.S. 737, 746 (1995). Establishing

“individualized harm” requires showing that the “plaintiff resides in a racially gerrymandered district.”

Id. at 744–45. A plaintiff who does not live in such a district does not have standing unless there is

some other basis for concluding “that the plaintiff has personally been subjected to a racial
classification.” Id. at 745; see also Sinkfield v. Kelley, 531 U.S. 28, 30 (2000) (per curiam). “A racial

gerrymandering claim” must proceed “district-by-district,” and courts do not analyze the State “as an




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undifferentiated ‘whole.’” Ala. Legislative Black Caucus v. Alabama, 575 U.S. 254, 262 (2015); accord

Bethune-Hill v. Va. State Bd. of Elections, 137 S. Ct. 788, 800 (2017). 1

        NAACP disregards this. It purports to challenge many districts for the House, Senate, and

Congressional elections. See ECF 1 ¶¶ 140–81 (House); id. ¶¶ 106–39 (Senate); id. ¶¶ 182–204

(Congressional). But it does not allege that it has members who reside in and intend to vote in any of

those districts. NAACP therefore lacks associational standing.

    B. NAACP Lacks Organizational Standing

        NAACP also lacks organizational standing, in which a plaintiff organization brings suit “on its

own behalf,” Henderson v. Stalder, 287 F.3d 374, 381 (5th Cir. 2002). NAACP does not contend that it

is “the object of the government action or inaction [it] challenges,” so its standing is “substantially

more difficult to establish.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 562 (1992) (quotation omitted).

        The two conclusory sentences in the complaint that address organizational standing do not

suffice to establish it. NAACP alleges that the new maps’ effects on others force it “to allocate time

and resources” away from “other programs that are core to its mission.” ECF 1 ¶ 22. 2 Although the
diversion of resources can constitute a sufficient injury in certain circumstances, “[n]ot every diversion

of resources to counteract [a] defendant’s conduct . . . establishes an injury in fact.” City of Kyle, 626

F.3d at 238. An organization’s decision to divert resources “must . . . be in response to a reasonably

certain injury imposed by the challenged law.” Zimmerman v. City of Austin, 881 F.3d 378, 390 (5th Cir.

2018). In other words, a diversion of resources is cognizable only if the plaintiff “would have suffered

some other injury if it had not diverted resources to counteracting the problem.” La Asociacion de

Trabajadores de Lake Forest v. City of Lake Forest, 624 F.3d 1083, 1088 (9th Cir. 2010). Courts do not


1   An unpublished Fifth Circuit opinion once noted that the panel was “aware of no precedent holding that an
    association must set forth the name of a particular member in its complaint,” Hancock Cnty. Bd. of Supervisors v.
    Ruhr, 487 F. Appx. 189, 198 (5th Cir. 2012), but the precedent cited above holds exactly that. Even if NAACP
    did not have to “name names,” it would at least have to include “more specific” allegations “identifying members
    who have suffered the requisite harm.” Faculty, Alumni, & Students Opposed to Racial Preferences v. New York Univ.,
    11 F.4th 68, 75–76 (2d Cir. 2021).
2   Though NAACP says that “it brings this action on behalf of its members,” ECF 1 ¶ 21, Defendants assume
    based on these allegations that it is seeking to invoke its own organizational standing.



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allow a plaintiff to “bootstrap standing by expending its resources in response to actions of another.”

Assn. for Retarded Citizens of Dall. v. Dall. Cnty. Mental Health & Mental Retardation Ctr. Bd. of Trs., 19 F.3d

241, 244 (5th Cir. 1994). Otherwise, plaintiffs could “manufacture standing merely by inflicting harm

on themselves based on their fears of hypothetical future harm that is not certainly impending.” Clapper

v. Amnesty Intl. USA, 568 U.S. 398, 402 (2013).

        Here, NAACP claims it will divert resources to “combat[] the effects of these new maps on

communities of color throughout the state.” ECF 1 ¶ 22. The Supreme Court, however, has “long

recognized that a person’s right to vote is ‘individual and personal in nature.’” Gill, 138 S. Ct. at 1929.
A vote-dilution injury, as explained in Argument § I.A, therefore belongs to a voter—a thing that

NAACP, as an organization, is not. NAACP may prefer that individuals’ votes not be diluted, but

“[f]rustration of an organization’s objectives is the type of abstract concern that does not impart

standing.” Natl. Treas. Emps. Union v. United States, 101 F.3d 1423, 1429 (D.C. Cir. 1996) (quotation

omitted). Rather, there must be “concrete and demonstrable injury to the organization’s activities—

with the consequent drain on the organization’s resources—constitut[ing] far more than simply a

setback to the organization’s abstract social interests.” Havens Realty Corp. v. Coleman, 455 U.S. 363, 379

(1982). No matter how laudable an organization’s goal, it cannot establish “standing simply on the

basis of that goal.” Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26, 40 (1976). Thus, “a showing that an

organization’s mission is in direct conflict with a defendant’s conduct is insufficient, in and of itself,

to confer standing on the organization to sue on its own behalf.” Assn. of Cmty. Orgs. for Reform Now v.

Fowler, 178 F.3d 350, 361 n.7 (5th Cir. 1999).

        Moreover, NAACP does not allege “how the allegedly discriminatory . . . practice is going to

impair [its] activities.” Galveston Open Govt. Project v. U.S. Dept. of Hous. & Urban Dev., 17 F. Supp. 3d

599, 613 (S.D. Tex. 2014) (Costa, J.). Indeed, a redistricting map cannot impair NAACP’s activities.

NAACP remains free to educate and register voters, ECF 1 ¶ 17, “share information on redistricting
principles,” id. ¶ 20, and advocate for its preferred policies. Id. Its claims must therefore be dismissed

for lack of standing.




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II.      NAACP Has Not Plausibly Alleged a Discriminatory Effects Claim

         NAACP’s sole discriminatory-effects claim arises from its belief that Section 2 requires the

Texas Legislature to draw opportunity districts for “majority-minority coalition districts” for “voters

of color” generally, an assertion with which it opens its complaint. ECF 1 ¶ 1. See also, e.g., id. at 57

(demanding declaration that Legislature’s “failure to maintain the same number of or draw additional

majority-minority coalition” districts violates Section 2). But the Voting Rights Act imposes no such

requirement: A coalition district, by definition, does not feature a single “minority group” that “is

sufficiently large and geographically compact to constitute a majority in a single-member district.”

Thornburg v. Gingles, 478 U.S. 30, 50 (1986). Nor has NAACP plausibly alleged that “Black, Hispanic,
and Asian,” voters, e.g., ECF 1 ¶ 2, or other minority groups are “politically cohesive.” Gingles, 478

U.S. at 51. “Failure to establish any one of these threshold requirements is fatal.” Campos v. City of

Houston, 113 F.3d 544, 547 (5th Cir. 1997). Because transforming districts as drawn into coalition

districts fails under at least two of the three Gingles preconditions, NAACP’s vote-dilution claim should

be dismissed. And because NAACP fails to allege facts supporting the other Gingles factors, that claim

should be dismissed nonetheless.

      A. The Gingles Test

         Section 2 prohibits a “standard, practice, or procedure” from being “imposed or applied . . .

in a manner which results in a denial or abridgement of the right . . . to vote on account of race or
color.” 52 U.S.C. § 10301(a). To establish a violation, a plaintiff must show that:

            [T]he political processes leading to nomination or election in the State or
            political subdivision are not equally open to participation by members of a
            class of citizens protected by subsection (a) in that its members have less
            opportunity than other members of the electorate to participate in the political
            process and to elect representatives of their choice.

Id. § 10301(b). A court can consider “[t]he extent to which members of a protected class have been

elected to office in the State,” but “nothing in [Section 2] establishes a right to have members of a

protected class elected in numbers equal to their proportion in the population.” Id. A plaintiff bringing

such a suit must establish three “necessary preconditions”:



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            (1) The minority group must be able to demonstrate it is sufficiently large and
            geographically compact to constitute a majority in a single-member district;

            (2) The minority group must be able to show that it is politically cohesive; and

            (3) The minority must be able to demonstrate that the white majority votes
            sufficiently as a bloc to enable it—in the absence of special circumstances,
            such as the minority candidate running unopposed—usually to defeat the
            minority’s preferred candidate.

Gingles, 478 U.S. at 50–51; see Growe v. Emison, 507 U.S. 25, 39–41 (1993) (“Gingles preconditions” are

required in “a § 2 dilution challenge to a single-member districting scheme”).

        The Gingles preconditions are “a bright line test.” Valdespino v. Alamo Heights Indep. Sch. Dist.,
168 F.3d 848, 852 (5th Cir. 1999); accord Benavidez v. Irving Indep. Sch. Dist., 690 F. Supp. 2d 451, 456

(N.D. Tex. 2010). “Failure to establish any one of these threshold requirements is fatal.” Harding v.

Dallas Cnty., 948 F.3d 302, 308 (5th Cir. 2020) (quotation omitted). Meeting “the three prongs of

Gingles” is not sufficient: to prevail, a plaintiff that does so must then “establish that the ‘totality of

the circumstances’ supports a finding of vote dilution.” Id. at 308–09.

    B. Coalition Districts Fail the First Gingles Precondition

        NAACP’s coalition-district theory cannot satisfy the first precondition because no single racial

or language group constitutes a majority of any of the proposed coalition districts.

        There is no fact dispute here. NAACP does not allege that any minority group standing alone

could “constitute a majority in a single-member district.” Id. On the contrary: it alleges only that

“Black, Hispanic, and Asian” voters together could form “coalition districts.” ECF 1 ¶ 216. As a result,

the Court faces a pure question of law: Can a plaintiff satisfy the first Gingles precondition where no

single group can form a majority in the proposed single-member district?

        The answer is no. The Supreme Court has never found a violation of Section 2 based on a

State’s decision not to draw a coalition district when no single minority group would constitute a

majority in the proposed district. In fact, in Bartlett v. Strickland, the Supreme Court rejected crossover

districts (districts in which a subset of white voters join with a minority group to form an electoral




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majority). See 556 U.S. 1, 13 (2009) (plurality). 3 And in Perry v. Perez, the Court made clear that Bartlett’s

reasoning applied to coalition districts as well. See 565 U.S. 388, 399 (2012).

        1. Supreme Court Precedent Forecloses Requiring Coalition Districts

        To plead the first Gingles precondition, NAACP must plausibly allege “that [its] minority group

exceeds 50% of the relevant population in the demonstration district.” Valdespino, 168 F.3d at 852–

53; see also Bartlett, 556 U.S. at 13 (a district may be required where “a minority group composes a

numerical, working majority of the voting-age population”). Because of this requirement, the Supreme

Court has refused to require either “influence districts, in which a minority group can influence the

outcome of an election even if its preferred candidate cannot be elected,” or crossover districts, in

which “the minority population, at least potentially, is large enough to elect the candidate of its choice

with help from voters who are members of the majority and who cross over to support the minority’s

preferred candidate.” Bartlett, 556 U.S. at 13. For similar reasons, Section 2 does not mandate the

creation of coalition districts.

        Bartlett’s reasoning rejecting crossover districts applies with equal force to coalition districts. A

violation of the Voting Rights Act occurs when “members of a class of citizens protected” by Section 2

“have less opportunity than other members of the electorate to participate in the political process and

to elect representatives of their choice.” 52 U.S.C. § 10301(b). But coalition districts are, by definition,

those “in which two minority groups form a coalition to elect the candidate of the coalition’s choice.”

Bartlett, 556 U.S. at 13. As the Court explained, “[t]here is a difference between a racial minority group’s

‘own choice’ and the choice made by a coalition.” Id. at 15. NAACP’s claim is thus “contrary to the

mandate of § 2.” Id. at 14.




3   Bartlett was decided by a 5-4 vote. The five votes to reverse comprised a three-justice plurality (Justice Kennedy,
    joined by Chief Justice Roberts and Justice Alito) and a two-justice concurrence (Justice Thomas, joined by
    Justice Scalia). The concurrence would have reversed on the basis that Section 2 “does not authorize any vote
    dilution claim” and therefore would have refused to apply the Gingles framework. 556 U.S. at 26 (Thomas, J.,
    concurring). Because the plurality states the narrowest ground on which the judgment was reached, it is the
    controlling opinion. See Marks v. United States, 430 U.S. 188, 193–94 (1977).



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        Indeed, the Court specifically recognized that “[n]othing in § 2 grants special protection to a

minority group’s right to form political coalitions.” Id. at 15. When a minority group does not

constitute a numerical majority in the proposed district, members of that group merely possess “the

opportunity to join other voters—including other racial minorities, or whites, or both—to reach a

majority and elect their preferred candidate.” Id. at 14. Recognition of a Section 2 claim where minority

group members cannot elect their preferred candidate “based on their own votes and without

assistance from others” would impermissibly “grant minority voters ‘a right to preserve their strength

for the purposes of forging an advantageous political alliance.’” Id. at 14–15 (quoting Hall v. Virginia,
385 F.3d 421, 431 (4th Cir. 2004)). The Voting Rights Act contains no such right, as “minority voters

are not immune from the obligation to pull, haul, and trade to find common political ground.” Id. at

15 (quoting Johnson v. De Grandy, 512 U.S. 997, 1020 (1994)).

        2. Contrary Fifth Circuit Precedent Was Wrong and Has Been Overruled

        Campos v. City of Baytown, 840 F.2d 1240 (5th Cir. 1988), does not require otherwise. That case’s

flawed reasoning is inconsistent with and has been overruled by the Supreme Court in its later

decisions in Bartlett and Perez.

        The flaws inherent in Campos were recognized from the outset, including in Judge

Higginbotham’s dissent from the denial of rehearing en banc, which five of his colleagues joined. The

Campos panel held that if a combination of black and Latino voters “are of such numbers residing

geographically so as to constitute a majority in a single member district, they cross the Gingles threshold

as potentially disadvantaged voters.” 840 F.2d at 1244. Judge Higginbotham, however, recognized that

Campos’s assumption “that a group composed of both [black and Hispanic] minorities is itself a

protected minority” to be “an unwarranted extension of congressional intent.” Campos v. City of

Baytown, 849 F.2d 943, 945 (5th Cir. 1988) (Higginbotham, J., dissenting from denial of rehg. en banc).

Coalition groups are outside the Gingles framework because that case’s “three step inquiry assumes a

group unified by race or national origin and asks if it is cohesive in its voting.” Id. (quoting LULAC

v. Midland Indep. Sch. Dist., 812 F.2d 1494, 1504 (5th Cir.1987) (Higginbotham, J., dissenting)).




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Channeling the reasoning that would later animate the Supreme Court in Bartlett, Judge Higginbotham

observed that “[a] group tied by overlapping political agendas but not tied by the same statutory

disability is no more than a political alliance or coalition.” Id.

        Nor were Judge Higginbotham and his five colleagues the only ones to see how Campos

contradicted Gingles and Section 2. Nearly a decade later, the Sixth Circuit announced that it “share[d]

the concerns articulated by Judge Higginbotham in his dissent from the denial of rehearing.” Nixon v.

Kent County, 76 F.3d 1381, 1388 (6th Cir. 1996). Among those concerns were that coalition districts

would “effectively eliminate” the first Gingles requirement. Id. at 1391. That requirement “necessarily
recognizes that, in some cases, a minority will not be numerous enough to prove a violation of the

Voting Rights Act because it fails to constitute a majority in a single member district.” Id. (cleaned up).

Coalition districts would present an exception to the first Gingles requirement that would swallow the

rule. The Sixth Circuit thus rejected this misreading, holding that “[t]he language of the Voting Rights

Act does not support a conclusion that coalition suits are part of Congress’ remedial purpose and, as

previously discussed, there are compelling reasons to believe that they are not.” Id. at 1393.

        Since then, Campos has been overruled. Even when a Fifth Circuit opinion is “squarely on

point,” it does not bind lower courts after “intervening and overriding Supreme Court decisions.”

White v. Estelle, 720 F.2d 415, 417 (5th Cir. 1983). In analyzing whether a later Supreme Court decision

abrogated an earlier Fifth Circuit decision, “[t]he overriding consideration is the similarity of the issues

decided.” Gahagan v. U.S. Citizenship & Immig. Servs., 911 F.3d 298, 303 (5th Cir. 2018). As a result,

“intervening Supreme Court authority need not be precisely on point, if the legal reasoning is directly

applicable.” Ne. Ohio Coal. for the Homeless v. Husted, 831 F.3d 686, 720–21 (6th Cir. 2016); see also Troy

v. Samson Mfg. Corp., 758 F.3d 1322, 1326 (Fed. Cir. 2014) (“issues decided by the higher court need

not be identical to be controlling”). It is sufficient that the Supreme Court has “undercut the theory

or reasoning underlying the prior circuit precedent in such a way that the cases are clearly
irreconcilable.” Miller v. Gammie, 335 F.3d 889, 900 (9th Cir. 2003) (en banc). “[A] district court or a

three-judge panel is free to reexamine the holding of a prior panel in light of an inconsistent decision




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by a court of last resort on a closely related, but not identical issue.” Dippin’ Dots, Inc. v. Mosey, 602 F.

Supp. 2d 777, 785 n.3 (N.D. Tex. 2009) (quoting Miller v. Gammie, 335 F.3d at 899).

        As discussed in detail in Argument § II.B.1, Bartlett’s treatment of crossover districts applies

with equal force to coalition districts. It explains in detail why Section 2 protects individual racial and

language minority groups and does not protect political coalitions between groups. See Bartlett, 556

U.S. at 13–15. By contrast, Campos “cites no authority and offers no reasoning to support its fiat.”

Campos, 849 F.2d at 945 (Higginbotham, J., dissenting from denial of rehg. en banc).

        The reasoning in Campos was limited to the truism that Section 2 “protects the right to vote of
both racial and language minorities.” 840 F.2d at 1244. But no one doubts that “Section 2 broadly

protects the voting rights of all voters, even those who are white.” United States v. Brown, 494 F. Supp.

2d 440, 446 (S.D. Miss. 2007), aff’d, 561 F.3d 420 (5th Cir. 2009). The actual question in Campos was

“whether Congress intended to extend [voting-rights] protection to a group consisting of two distinct

minority groups.” Campos, 849 F.2d at 945 (Higginbotham, J., dissenting from denial of rehg. en banc).

That Congress did not so intend is the very holding of Bartlett, which rejected crossover districts that

rely on white voters to form an electoral majority. 556 U.S. at 14.

        The Supreme Court dispelled any post-Bartlett doubt it in Perry v. Perez. There, the Court

rejected a proposed coalition district, holding:

            The [district] court’s order suggests that it may have intentionally drawn
            District 33 as a “minority coalition opportunity district” in which the court
            expected two different minority groups to band together to form an electoral
            majority. . . . If the District Court did set out to create a minority coalition
            district, rather than drawing a district that simply reflected population growth,
            it had no basis for doing so. Cf. Bartlett v. Strickland, 556 U.S. 1, 13–15 (2009)
            (plurality opinion).

565 U.S. at 399. Because it was “unclear whether the District Court . . . followed the appropriate

standards in drawing interim maps,” the Supreme Court vacated the district court’s ruling. Id.

        The Supreme Court recognized that the coalition-district issue in Perez was not identical to the

crossover-district issue in Bartlett. That is why it employed a “cf.” signal, which means “compare” and




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is used when the “[c]ited authority supports a proposition different from the main proposition but

sufficiently analogous to lend support.” The Bluebook: A Uniform System of Citation rule 1.2(a) (21st ed.

2020). At the same time, the Supreme Court thought that the issues were sufficiently analogous that

there was no need for extensive discussion; citing the portion of Bartlett discussed above was sufficient.

                                            *       *        *

        All of NAACP’s discriminatory-effects claims depend on its underlying assumption that

Section 2 can require a jurisdiction to draw coalition districts. That assumption is false: A plaintiff who

proposes a coalition district has necessarily failed to plausibly allege that “the minority group . . . is
sufficiently large and geographically compact to constitute a majority in a single-member district.”

Gingles, 478 U.S. at 50. NAACP’s discriminatory-effects claims should therefore be dismissed.

    C. NAACP Does Not Plausibly Allege That Black, Latino, and Asian Voters in the
       Challenged Districts Are Politically Cohesive

        Even if NAACP could satisfy the first Gingles precondition, it would still fail the second: “[T]he

minority group must be able to show that it is politically cohesive.” 478 U.S. at 51. It alleges no facts

to establish this requirement. Each of its allegations as to the cohesiveness of the “POC CVAP” regard

an alleged preference for Democrats over Republicans in general elections. See, e.g., ECF 1 ¶¶ 87, 110,

120. That does not suffice for two reasons.

        First, those allegations are nothing more than a “formulaic recitation” of the second Gingles

element. Twombly, 550 U.S. at 555. Such “[t]hreadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678. Second, they do not

even attempt to allege facts to overcome the “obvious alternative explanation” for these voting

patterns: partisanship. Twombly, 550 U.S. at 567. It is NAACP’s burden to plausibly allege that “race,”

not “partisan affiliation,” “best explains” any alleged bloc voting. LULAC v. Clements, 999 F.2d 831,

850 (5th Cir. 1993) (en banc). By neglecting to even mention partisanship as an explanation, much less

address the extent to which it accounts for bloc voting behavior, it has failed to “nudge[ its] claims

across the line from conceivable to plausible.” Twombly, 550 U.S. at 570. The partisanship attending

general elections robs them of probative value when determining whether two minority groups are



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politically cohesive. Rather, when. “two minority groups are generally affiliated/registered with the

same party (Democratic) and vote for that party’s candidates at high rates, primary elections for that

party’s candidate are by far the most probative evidence of cohesion.” Rodriguez v. Pataki, 308

F. Supp. 2d 346, 421 (S.D.N.Y. 2004) (three-judge court) (per curiam), aff’d, 543 U.S. 997 (2004).

        NAACP’s allegations would not suffice in any Section 2 case, but they are particularly deficient

here because NAACP proposes coalition districts. Before rejecting such districts altogether in Bartlett

and Perry v. Perez, the Supreme Court considered how the second Gingles precondition would apply to

coalition districts. “Assuming (without deciding) that it was permissible for [a] District Court to
combine distinct ethnic and language minority groups for purposes of assessing compliance with § 2,”

the Court found that “there was quite obviously a higher-than-usual need for the second of the Gingles

showings.” Growe, 507 U.S. at 41. For “when dilution of the power of such an agglomerated political

bloc is the basis for an alleged violation, proof of minority political cohesion is all the more essential.”

Id. Accordingly, even when Campos erroneously required it to assume that coalition districts could

satisfy the first Gingles precondition, the Fifth Circuit did not hesitate to reject coalition-district cases

based on the plaintiff’s failure to meet the second Gingles precondition. See, e.g., Rollins v. Fort Bend Indep.

Sch. Dist., 89 F.3d 1205, 1216 n.21 (5th Cir. 1996) (statistical evidence did not establish cohesion and

“[n]o concrete, reliable, or credible evidence was presented at trial that Hispanic and African-American

communities work together to accomplish common goals”); Brewer v. Ham, 876 F.2d 448, 453 (5th Cir.

1989) (affirming dismissal due to “lack of statistical evidence of inter-minority political cohesion”).

    D. NAACP Does Not Allege Facts Supporting the Third Gingles Precondition

        In addition, NAACP does not allege facts supporting the final Gingles precondition, namely,

“that the white majority votes sufficiently as a bloc to enable it . . . usually to defeat the minority’s

preferred candidate.” Gingles, 478 U.S. at 50–51. Satisfying this requirement is a “bright-line test,”

Valdespino, 168 F.3d at 852, and NAACP’s failure to satisfy it “is fatal.” Harding, 948 F.3d at 308.

        Rather than plausibly allege facts, NAACP simply asserts this precondition is met: “[W]hite

voters usually vote to defeat the preferred candidates of voters of color.” ECF 1 ¶ 217; see also id. ¶¶ 7,




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97. That is not an allegation. It is a “[t]hreadbare recital[] of the elements of a cause of action” and

does “not suffice.” Iqbal, 556 U.S. at 678.

       E. Section 2 Does Not Give NAACP a Private Cause of Action

          Finally, NAACP’s Section 2 claims must be dismissed because Section 2 does not create a

private right of action. Defendants will not burden the Court with further briefing on an issue it has

already decided, see ECF 58, but they respectfully disagree with that ruling and raise this argument to

preserve it for further review.

III.      NAACP Has Not Alleged Facts Stating a Claim of Intentional Discrimination

       A. Lack of Discriminatory Effect Precludes Intentional-Discrimination Claims

          Even if NAACP had plausibly alleged discriminatory intent—it did not; see Argument

§ III.B—that would not be enough. As explained in Argument § II, NAACP has not plausibly alleged

a discriminatory effect, which is a necessary element of an intentional-discrimination claim. This

follows from “a familiar principle of constitutional law that this Court will not strike down an

otherwise constitutional statute on the basis of an alleged illicit legislative motive.” United States v.

O’Brien, 391 U.S. 367, 383 (1968). “[N]o case in [the Supreme] Court has held that a legislative act may

violate equal protection solely because of the motivations of the men who voted for it.” Palmer v.

Thompson, 403 U.S. 217, 224 (1971). Courts routinely require discriminatory effect in intentional-

discrimination redistricting cases. See, e.g., Shaw v. Reno, 509 U.S. 630, 641 (1993) (“a discriminatory

purpose and have the effect of diluting minority voting strength”); Rodriguez v. Harris Cnty., 964

F. Supp. 2d 686, 800 (S.D. Tex. 2013) (“purpose and operative effect”); LULAC v. N.E. Indep. Sch.

Dist., 903 F. Supp. 1071, 1093 (W.D. Tex. 1995) (“intentional discrimination” and “a resultant

discriminatory effect”).

          The same is true under Section 2. “[T]he statute proscribes intentional discrimination only if

it has a discriminatory effect, but proscribes practices with discriminatory effect whether or not
intentional.” Chisom v. Roemer, 501 U.S. 380, 406 (1991) (Scalia, J., dissenting); accord Turner v. Arkansas,

784 F. Supp. 553, 565 (E.D. Ark. 1991), aff’d, 504 U.S. 952 (1992).



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    B. NAACP Has Not Plausibly Alleged Discriminatory Intent

        NAACP has not alleged facts that would allow the Court to infer a discriminatory purpose. In

redistricting cases, “the good faith of a state legislature must be presumed.” Miller v. Johnson, 515 U.S.

900, 915 (1995). It is “plaintiffs’ burden to overcome the presumption of legislative good faith and

show that the [Texas] Legislature acted with invidious intent.” Abbott v. Perez, 138 S. Ct. 2305, 2325

(2018). The required intent is not mere “volition” or “awareness of consequences.” Personnel Admr. of

Mass. v. Feeney, 442 U.S. 256, 279 (1979). It requires that the Legislature have passed a law “‘because

of,’ not merely ‘in spite of,’ its adverse effects upon an identifiable group.” Id.

        NAACP claims to identify several “indicia of discriminatory purpose,” ECF 1 ¶ 226, but none
plausibly supports discriminatory intent here. First, NAACP claims there is “evidence of substantial

disparate impact,” id., but that is neither factually true nor legally significant. Even if NAACP had

plausibly alleged discriminatory effects, cf. Argument §§ II.B–II.D, discriminatory effects do not imply

discriminatory intent. The Fifth Circuit has repeatedly stressed that disparate impact does not support

an intentional-discrimination claim. See Veasey v. Abbott, 830 F.3d 216, 231 (5th Cir. 2016) (en banc)

(“Legislators’ awareness of a disparate impact on a protected group is not enough: the law must be

passed because of that disparate impact.”) (citing Feeney, 442 U.S. at 279); see also Hawkins v. Dept. of Hous.

& Urban Dev., 16 F.4th 147, 158–59 (5th Cir. 2021) (dismissing intentional discrimination claim; mere

awareness of disparate impact “[i]n no way . . . support[s] an inference that [the defendant] made any

decision ‘because of, not merely in spite of,’” the disparate impact) (quoting Feeney, 442 U.S. at 279).

        Second, NAACP offers “a history of discriminatory official actions,” but its allegations simply

amalgamate independent events with no direct connection to this specific legislative act. ECF 1 ¶ 226.

It points to past voting practices, id. ¶¶ 35–44, and past redistricting cases, id. ¶¶ 45–49, and simply

concludes, without more, than those circumstances support an inference that these maps are motivated

by discriminatory purpose. That is not the law. To the contrary, the Supreme Court has recently

reiterated that “past discrimination cannot, in the manner of original sin, condemn governmental

action that is not itself unlawful.” Abbott v. Perez, 138 S. Ct. at 2324 (quoting City of Mobile v. Bolden, 446

U.S. 55, 74 (1980) (plurality op.)). The “ultimate question remains whether a discriminatory intent has



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been proven in a given case.” Mobile, 446 U.S. at 74 (emphasis added). NAACP errs by alleging only

general historical facts. These do not raise an inference of discriminatory intent here.

        Third, NAACP alleges “procedural and substantive departures from the norms generally

followed by the decision-maker,” ECF 1 ¶ 226, but these are clearly the result of pandemic concerns

and partisan considerations, not discriminatory purpose. It is true that “[d]epartures from the normal

procedural sequence . . . might afford evidence that improper purposes are playing a role” in

government decisionmaking, Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 267

(1977), but they raise no inference of “invidious discrimination” when there is an “obvious alternative
explanation.” Iqbal, 556 U.S. at 682 (quoting Twombly, 550 U.S. at 567). Here, there are multiple obvious

reasons why the redistricting process was shorter than normal: The continuing COVID-19 pandemic

forced numerous changes in the way the Legislature operated, both in and out of session. And the

Census Bureau did not publish its final data until more than ten weeks after the Legislature’s regular

session ended. 4 That was more than four months after the statutory deadline of April 1. See 13 U.S.C.

§ 141(a), (c). That forced the Legislature to redistrict during a special session, which is constitutionally

limited to thirty days, rather than during its longer, regular session. See Tex. Const. art. III, § 40. With

a compressed schedule due to pandemic-related delays, an allegedly rushed process would hardly be

surprising, much less give a reason to infer intentional invidious discrimination. In Perez v. Abbott, the

Supreme Court could “not see how the brevity of the legislative process can give rise to an inference

of bad faith.” 138 S. Ct. at 2328–29. The evidence there was insufficient; the allegations here—which

do not even attempt to address these consequential matters of public record—are even weaker.

        Fourth, NAACP contends that the general “legislative and administrative history of the

decision, including contemporaneous statements by decisionmakers,” supports its claim, but none of

its allegations rebut the presumption of legislative good faith, let alone affirmatively suggest

discriminatory intent. ECF 1 ¶ 226. NAACP claims that it and other groups that participated in the


4   The 87th Regular Session ended on May 31, 2021. The Census Bureau delivered redistricting data to the States
    on August 12, 2021. See U.S. Census Bur., 2020 Census Statistics (Aug. 12, 2021), https://www.census.gov/
    newsroom/press-releases/2021/population-changes-nations-diversity.html.



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legislative process warned the Legislature of the “dilutive effect” of the new maps, id. ¶ 227, but that

the Legislature proceeded anyway. Similarly, it claims that certain statements made by members

“indicate that they were aware” of the “effect” the new maps would have on “minority voters.” Id.

¶ 228. In any event, alleged “awareness of consequences” does not establish discriminatory intent.

Feeney, 442 U.S. at 279. Mere awareness may be “consistent with” invidious intent, but it is “just as

much in line with” other motives. Twombly, 550 U.S. at 554. NAACP’s factual allegations are equally

consistent with the Legislature’s acting “in spite of” rather than “because of” the alleged racial

consequences of the redistricting maps, it therefore has not plausibly alleged invidious discrimination.

Feeney, 442 U.S. at 279; see Twombly, 550 U.S. at 557 (explaining “[t]he need at the pleading stage for

allegations plausibly suggesting (not merely consistent with)” a legal violation).

    C. NAACP Does Not Allege Facts Supporting a Racial Gerrymandering Claim

        “A racial gerrymandering claim is ‘analytically distinct’ from an intentional vote dilution claim.”

Harding, 948 F.3d at 312 (quoting Shaw v. Reno, 509 U.S. at 652). It seeks to establish that “that race

was improperly used in the drawing of the boundaries of one or more specific electoral districts.” Ala.

Legislative Black Caucus, 575 U.S. at 263. For a defendant to be liable on this basis, “race must have

been ‘the predominant factor motivating’ the redistricting process and ‘subordinat[ing] traditional

race-neutral districting principles, including but not limited to compactness, contiguity, and respect

for political subdivisions or communities defined by actual shared interests[.]”’ Harding, 948 F.3d at

313 (quoting Miller, 515 U.S. at 911).

        As with an intentional vote-dilution claim, the awareness and use of racial demographics and

statistics do not by themselves show discriminatory purpose. See Miller, 515 U.S. at 916 (though

legislatures are “almost always” aware of racial demographics, “it does not follow that race

predominates in the redistricting process.”). Instead, as before, a plaintiff is required to demonstrate

that the Legislature, in designing the particular district at issue, “selected or reaffirmed a particular

course of action at least in part ‘because of,’ not merely ‘in spite of,’ its adverse effects on an identifiable

group.” Id. (quoting Feeney, 442 U.S. at 279). For the same reasons that NAACP failed to allege facts




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plausibly suggesting that the Legislature drew the new maps with an intent to discriminate based on

race, it has not alleged facts plausibly suggesting that race was the Legislature’s predominant concern

in drawing the new maps. Indeed, its only two allegations on that basis are that bare recitations that

the Legislature “prioritized racial considerations above traditional redistricting principles,” ECF 1 ¶ 99,

and that it “flout[ed] traditional redistricting principles,” id. ¶ 105. And even if that were otherwise

sufficient, it could not overcome the presumption of legislative good faith, for NAACP immediately

acknowledges the obvious, non-racial reason the Legislature would have paid less heed to “traditional

redistricting principles:” a desire to enhance the electability of Republicans in “districts . . . won or lost
by narrow margins in the last election,” id. ¶ 100—that is, the same partisan considerations that have

motivated gerrymandering since the days of Gerry himself.

                                               CONCLUSION

        Defendants respectfully request that the Court dismiss NAACP’s claims.




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Date: December 9, 2021                    Respectfully submitted.

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                                    CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically (via

CM/ECF) on December 9, 2021, and that all counsel of record were served by CM/ECF.

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